Case No. 1:08-cv-01749-LTB-KLM Document 3 filed 08/25/08 USDC Colorado pg1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 08-cv-01749-BNB ETL

RANDY W. GASPER, UNITED STATES DISTRICT court
Applicant, AUG 25 2008

v. GREGORY C. LANG A

STEVE HARTLEY, Warden, Limon Correctional Facility, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

Respondents.

ORDER CONSTRUING ACTION AS A 28 U.S.C. § 2241 APPLICATION AND
DIRECTING APPLICANT TO FILE AMENDED APPLICATION

Applicant Randy W. Gasper is in the custody of the Colorado Department of
Corrections (DOC) and currently is incarcerated at the Limon, Colorado, Correctional
Facility. On August 6, 2008, Mr. Gasper submitted to the Court a pro se Application for
a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254. Upon review of the
Application, the Court finds that Mr. Gasper is challenging the DOC’s failure to award
him earned-time credits for the time that he was on parole. Therefore, the Court will
construe the action as filed pursuant to 28 U.S.C. § 2241 and direct Applicant to amend
the Application and to file his challenges to the execution of his sentence on a
§ 2241 Court-approved application form. He further is directed to complete the
form in full. Accordingly, it is

ORDERED that the action is construed as filed pursuant to 28 U.S.C. § 2241.

The Clerk of the Court is directed to change the nature of the case on the Docket. Itis
Case No. 1:08-cv-01749-LTB-KLM Document 3 filed 08/25/08 USDC Colorado pg 2of3

FURTHER ORDERED that Mr. Gasper file, within thirty days from the date of
this Order, an Amended Application that complies with the Order. It is

FURTHER ORDERED that the Clerk of the Court mail to Mr. Gasper, together
with a copy of this Order, two copies of the Application for a Writ of Habeas Corpus
Pursuant to 28 U.S.C. § 2241 Court-approved form. It is

FURTHER ORDERED that if Mr. Gasper fails within the time allowed to file an
Amended Application, as directed, the Application will be denied, and the action will be
dismissed without further notice.

DATED at Denver, Colorado, this 22” day of August, 2008.

BY THE COURT:

s/Craig B. Shaffer
Craig B. Shaffer
United States Magistrate Judge

Case No. 1:08-cv-01749-LTB-KLM Document 3 filed 08/25/08 USDC Colorado pg 3of3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08-cv-01749-BNB

Randy W. Gasper
Prisoner No, 53109

Limon Correctional Facility
49030 State Hwy. 71 - LUS
Limon, CO 80826

| hereby certify that | have mailed a copy of the ORDER and two copies of the

Application for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241 form to the
above-named individuals on

GREG C. LANGHAM, CLERK

Deputy Clerk
